            Case 1:25-cv-00097-ADA                    Document
                                                        PRECINCT1-2
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                                                  CASE SUMMARY
                                              CASE NO. J5-CV-24-274397                                                        B
 Vanessa Bissereth vs. Javitch Block, LLC,Bank of                  §                   Location:    Precinct Five
 America, N.A.                                                     §            Judicial Officer:   Olivo, Rick "Rico"
                                                                   §                   Filed on:    11/20/2024
                                                                   §                 Appear by:     01/30/2025
                                                                   §

                                                        CASE INFORMATION

                                                                                    Case Type: Small Claims


     DATE                                                CASE ASSIGNMENT

                 Current Case Assignment
                 Case Number                         J5-CV-24-274397
                 Court                               Precinct Five
                 Date Assigned                       11/20/2024
                 Judicial Officer                    Olivo, Rick "Rico"



                                                        PARTY INFORMATION
                                                                                                            Attorneys
Plaintiff           Bissereth, Vanessa                                                                      ZIMMER, ROBERT
                                                                                                                        Retained
                                                                                                                512-434-0306(W)
                                                                                                          1108 LAVACA STREET
                                                                                                                  SUITE 110-187
                                                                                                              AUSTIN, TX 78701

Defendant           Bank of America, N.A.                                                                 LANSDEN, TYLER G
                      160 MINE LAKE CT                                                                                 Retained
                      STE 200                                                                                  214-383-9088(W)
                      Raleigh, NC 27615                                                                     275 W. CAMPBELL,
                                                                                                                    SUITE 312
                                                                                                        RICHARDSON, TX 75080

                    Javitch Block, LLC                                                                    LANSDEN, TYLER G
                       5301 SOUTHWEST PKWY                                                                             Retained
                       STE 400                                                                                 214-383-9088(W)
                       Austin, TX 78735                                                                     275 W. CAMPBELL,
                                                                                                                    SUITE 312
                                                                                                        RICHARDSON, TX 75080

     DATE                                      EVENTS & ORDERS OF THE COURT                                        INDEX

  11/20/2024    Original Petition (OCA)

  11/20/2024        Petition/Application via E-File
                   Plaintiff's Original Petition / MB

  11/20/2024        Affidavit of Inability Filed
                   Plaintiff's Affidavit of Inability to Pay Court Costs / MB

  11/25/2024        Sent to Judge's Workflow Queue
                   ORDER ON PLFF'S STATEMENT OF INABILITY / MB

  11/27/2024        Affidavit of Inability Granted
                   JUDGE OLIVO / MB

  12/13/2024         Request


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                                             CASE SUMMARY
                                          CASE NO. J5-CV-24-274397
                PLFF REQ FOR UPDATE ON STMNT OF INAB./ AL

12/17/2024       Citation Issued
                SENT TO CN5 / MB

12/17/2024   Service
                  Javitch Block, LLC
             Served: 12/23/2024
             Actual Server: Constable
             Return Date/Time: 01/08/2025
             Serving Method: In Person
             Service Tracking Comment: /AQ
             Bank of America, N.A.
             Unserved

12/30/2024       Original Answer
                Party: Defendant Javitch Block, LLC; Defendant Bank of America, N.A.
                Defendants' Original Answer / MB

12/30/2024       Motion for Discovery
                Plaintiff's Motion to Allow Discovery as to Defendant Javitch Block, LLC, and to Apply the
                Rules of Evidence / MB

01/07/2025       Sent to Judge's Workflow Queue
                Proposed Order on Plaintiff's Motion to Allow Discovery and to Apply the Rules of Evidence /
                MB

01/07/2025       Jury Demand (Fee Paid)
                Party: Plaintiff Bissereth, Vanessa
                Plaintiff's Jury Demand /IC

01/07/2025       Order for Discovery
                PLAINTIFF'S MOTION FOR DISCOVERY IS GRANTED. PLAINTIFF'S MOTION TO
                APPLY THE RULES OF EVIDENCE IS DENIED. (VJ BEELER) / MB

01/09/2025        Hearing Set
                IP PT FOR JD HRG SET FOR JAN 30 2025 AT 10:30 AM. PARTIES NOTIFIED BY MAIL,
                EMAIL IF ON FILE WITH THE COURT /IC

01/13/2025       Action
                Order on Plaintiff's Motion to Allow Discovery and to Apply the Rules of Evidence, emailed
                and mailed to parties / MB

01/30/2025       Motion Hearing (10:30 AM) (Judicial Officer: Olivo, Rick "Rico")
                Events: 01/09/2025 Hearing Set
  DATE                                                FINANCIAL INFORMATION

             Plaintiff Bissereth, Vanessa
             Total Charges                                                                                               224.00
             Total Payments and Credits                                                                                  224.00
             Balance Due as of 01/14/2025                                                                                  0.00




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                                                                                    Justice of the Peace,Pct.5
                                                                                         Travis County, Texas
                                                                                             J5-CV-24-274397
                                     J5-CV-24-274397
                                  NO. __________________


                                              §
VANESSA BISSERETH,                            §             IN THE JUSTICE COURT
Plaintiff                                     §
                                              §
                                              §
VS.                                           §             PRECINCT NO. 5
                                              §
BANK OF AMERICA, N.A.,                        §
and JAVITCH BLOCK, LLC,                       §
Defendants,                                   §             TRAVIS COUNTY, TEXAS
                                              §

                           PLAINTIFF’S ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Plaintiff VANESSA BISSERETH (“Bissereth”), and files this, her

Original Petition, complaining of DEFENDANTS Bank of America, N.A. (“BofA”), and Javitch

Block, LLC (“Javitch Block”), and for causes of action would respectfully show this Honorable

Court the following:


                                             PARTIES

       Plaintiff Vanessa Bissereth is a resident of Travis County, Texas.

       Defendant Bank of America N.A. is a financial institution domiciled in North Carolina,

which does or transacts business in Texas.

       Defendant Bank of America N.A., maybe be served with process via its Registered

Agent, CT CORPORATION SYSTEM, at 160 MINE LAKE CT., STE. 200, RALEIGH,

NORTH CAROLINA, 27615.

       Defendant Javitch Block, LLC is a limited liability corporations domiciled in Ohio,

which does or transacts business in Texas.
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                                                                                           Travis County, Texas
                                                                                               J5-CV-24-274397

     Defendant Javitch Block, LLC may be served with process through its Registered Agent,

REGISTERED AGENT SOLUTIONS, CORPORATE CENTER ONE, 5301 SOUTHWEST

PARKWAY, STE. 400, AUSTIN, TX 78735.



                               VENUE AND JURISDICTION


  1. Venue is proper in this Court because Travis County, Texas is where events giving rise to

     Bissereth’s claims occurred (see Tex. Civ. Prac. & Rem. Code §§ 15.002(a).

  2. The amount in controversy is within the jurisdictional limits of this Court, i.e.,

     $20,000.00.


                                FACTUAL ALLEGATIONS


  3. At all times relevant to this claim, Bissereth was a “consumer” as that term is defined in

     the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692a(3), and the Texas

     Debt Collection Act (“TDCA”), Tex Fin. Code § 392.001(1).

  4. At all times relevant to this claim, Javitch Block was both a “debt collector” and a “third-

     party debt collector” as those terms are defined in the TDCA§ 392.001(6) and (7)

     respectively, and a “debt collector” as that term is defined in the FDCPA § 1692a(6).

  5. At all times relevant to this claim, BofA Javitch was a “debt collector” as that term is

     defined in the TDCA § 392.001(6).

  6. The FDCPA and TDCA claims in this lawsuit arose from BofA’s and Javitch Block’s

     illegal attempts to collect a consumer debt from Bissereth (Javitch Block File No.

     2141980) (the “alleged debt”).

  7. Bissereth did not incur the alleged debt; she was a victim of identity theft.
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8. On June 23rd, 2021, Bissereth filed a police report with the Austin Police Department

   regarding the identity theft (the “police report”).

9. On or about July 2021, Bissereth notified the credit bureaus that she had been a victim of

   identity theft, and concurrently she disputed the alleged debt with all three credit bureaus.

10. Nonetheless, Defendants sued Bissereth on August 2, 2024 to recover the alleged debt

   from her (Bank of America, N.A. v. Vanessa Bissereth - J1-CV-24-004065 in Travis

   County, Texas, JP #1 (“the debt claim case”).

11. In Defendants’ pleadings in the debt claim case, Defendants falsely stated that Bissereth

   owes the alleged debt, when she does not.

12. On or about August 2024, and again in October 2024, Bissereth disputed the alleged debt

   with Defendants and furnished them with proof of identity theft.

13. However, despite knowing for months that the alleged debt was not valid, Defendants

   have refused to dismiss the debt claim case against her.

14. Despite knowing that Bissereth did not owe the alleged debt, BofA has been falsely

   communicating to the credit bureaus that Bissereth owes the debt and that it is valid.

15. Due to BofA’s false credit reporting and false statements regarding the alleged debt, the

   cost of obtaining credit increased for Bissereth.


                                 CAUSES OF ACTION

                                         COUNT I

      VIOLATION OF THE TEXAS DEBT COLLECTION ACT (“TDCA”),
                     TEX. FIN. CODE §392 et seq.


16. Bissereth incorporates the preceding paragraphs as if set forth at length.
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17. Despite being aware Bissereth was a victim of ID theft, BofA violated the TDCA

   §392.301(a)(3) by falsely communicating to the credit bureaus that Bissereth owed an

   undisputed debt.

18. Javitch Block and BofA violated the TDCA § 392.202 by failing to legitimately

   investigate the validity of the alleged debt upon receipt of Bissereth’s claim.

19. Instead, Javitch Block and BofA both simply mailed Bissereth a computer-generated

   form letter containing conclusory statements claiming the debt is valid, without actually

   investigating Bissereth’s dispute.

20. Javitch Block violated the TDCA § 392.304(a)(18) by sending Bissereth debt collection

   letters, and filing pleadings in the debt claim case, which falsely represent that Bissereth

   owes the alleged debt.

21. As a result of BofA’s and Javitch Block’s violations of the TDCA § 392.202 and §

   392.301(a)(3), Bissereth is entitled to an order directing Defendants to permanently cease

   collection on the alleged debt, pursuant to TDCA §392.403(a)(1); statutory damages of

   no less than $100.00, pursuant to the TDCA §392.403(e); actual damages; and attorney

   fees pursuant to TDCA § 392.403(c).



                                        COUNT II

     VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT,
                       15. U.S.C. § 1692 et seq.


22. Bissereth incorporates the preceding paragraphs as if set forth at length.
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   23. Despite being aware Bissereth was a victim of ID theft, Javitch Block violated the

       FDCPA § 1692e(10) falsely stating, in both letters and court pleadings, that Bissereth

       owes the alleged debt when she does not.

   24. As a result of Javitch Block’s violations of the FDCPA, Bissereth is entitled to statutory

       damages of $1,000.00; actual damages according to proof; and an award of attorney fees

       and costs, per FDCPA § 1692k(a).


                                   PRAYER FOR RELIEF


   WHEREFORE, Plaintiff Vanessa Bissereth prays that this Court award judgment in her favor

and against Defendants Bank of America, N.A. and Javitch Block, LLC., as follows:

   a. As to both Defendants, award Bissereth statutory damages of no less than $100.00; actual

       damages according to proof; and attorney fees and costs of court, per the TDCA §

       392.403;

   b. Enter an order enjoining both Defendants from engaging in any further collection

       activities on this alleged debt as to Bissereth, the order being authorized by the TDCA §

       392.403;

   c. As to Defendant Javitch Block, award Bissereth $1,000.00 in statutory damages; actual

       damages according to proof; and attorney fees and costs of court, per the FDPCA §

       1692k(a).

   d. award Bissereth any other relief to which she is entitled, in law or in equity.




                                                           [signature block on next page]
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                                                                       Travis County, Texas
                                                                           J5-CV-24-274397

                                                Respectfully Submitted,

                                    Zimmer & Associates, A Law Firm
                                      1108 Lavaca Street, Suite 110-187
                                                  Austin, Texas 78701
                                        Telephone/Fax: (512) 434-0306

                                                     /s/ Robert Zimmer
                                          By:    Robert Zimmer, Esq.
                                                State Bar No. 24098662
                                             zimmerlawTX@gmail.com

                                        ATTORNEY FOR PLAINTIFF,
                                             VANESSA BISSERETH
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                                                                                      Justice of the Peace,Pct.5
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                                                                                               J5-CV-24-274397


                                   Cause No. ______________

VANESSA BISSERETH,                               §
                                                 §                     JUSTICE OF THE PEACE
        Plaintiff                                §
                                                 §
v.                                               §                                PRECINCT NO. 5
                                                 §
BANK OF AMERICA, N.A.,                           §
JAVITCH BLOCK, LLC,                              §                   TRAVIS COUNTY, TEXAS
                                                 §
        Defendants                               §

      CERTIFICATE OF LEGAL-AID PROVIDER IN SUPPORT OF STATEMENT OF
     INABILITY TO AFFORD PAYMENT OF COURT COSTS OR AN APPEAL BOND

          Attorney Robert Zimmer states that the following is true and correct:

       "I am a licensed attorney in and for the State of Texas. I am representing Plaintiff Vanessa
Bissereth at no charge to her, due to the party’s inability to afford costs.

       “I am providing free legal services directly from a program, Volunteer Legal Services of
Central Texas (VLS) that is funded by the Texas Access to Justice Foundation (TAJF).


                                                                          Respectfully submitted,



                                                                                /s/ Robert Zimmer
                                                                          By:     Robert Zimmer
                                                                          State Bar No. 24098662

                                                            Zimmer & Associates, A Law Firm
                                                              1108 Lavaca Street, Suite 110-187
                                                                          Austin, Texas 78701
                                                                Telephone/Fax: (512) 434-0306
                                                                    zimmerlawTX@gmail.com

                                                                      ATTORNEY FOR PLAINTIFF




Legal Aid Certificate                                                             Solo Page
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                                                                                               J5-CV-24-274397


                                   Cause No. ______________

VANESSA BISSERETH,                               §
                                                 §                     JUSTICE OF THE PEACE
        Plaintiff                                §
                                                 §
v.                                               §                                PRECINCT NO. 5
                                                 §
BANK OF AMERICA, N.A.,                           §
JAVITCH BLOCK, LLC,                              §                   TRAVIS COUNTY, TEXAS
                                                 §
        Defendants                               §

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                                                                          Respectfully submitted,



                                                                                /s/ Robert Zimmer
                                                                          By:     Robert Zimmer
                                                                          State Bar No. 24098662

                                                            Zimmer & Associates, A Law Firm
                                                              1108 Lavaca Street, Suite 110-187
                                                                          Austin, Texas 78701
                                                                Telephone/Fax: (512) 434-0306
                                                                    zimmerlawTX@gmail.com

                                                                      ATTORNEY FOR PLAINTIFF




Legal Aid Certificate                                                             Solo Page
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Alex Quezada

From:                        Zimmer & Associates Paralegal <paralegal@zimmerlawtx.com>
Sent:                        Friday, December 13, 2024 1:35 PM
To:                          jp5civil
Cc:                          Robert Zimmer
Subject:                     [CAUTION EXTERNAL] re: J5-CV-24-274397 - Plaintiff's Affidavit of Inability to Pay


CAUTION: This email is from OUTSIDE Travis County. Links or attachments may be dangerous. Click the
Phish Alert button above if you think this email is malicious.


Good afternoon,

We represent the Plaintiff, Vanessa Bissereth, in the above captioned case ( J5-CV-24-274397 ). On
November 20th we filed the Plaintiff's Affidavit of Inability to Pay and are still awaiting it to be
granted.

We're confused because we filed a different lawsuit ( J5-CV-24-274391 ) for the same Plaintiff on the
same day and had that case's Affidavit of Inability to Pay granted a week later. Could you please
update us on the status of this?

Best,

--
Zachary Evans
Paralegal
paralegal@zimmerlawtx.com
(M): (512) 643-0280 | (F): 210 982 0596

Zimmer & Associates
1108 Lavaca Street
Suite 110-187
Austin, TX 78701
zimmerlawtx.com [zimmerlawtx.com]




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                                             JUSTICE CIVIL CITATION

 THE STATE OF TEXAS

  TO:    BANK OF AMERICA, N.A.
         ATTN CT CORPORATION SYSTEM
         160 MINE LAKE CT STE 200
         RALEIGH NC 27615

 YOU HAVE BEEN SUED. You may employ an attorney to help you in defending against this lawsuit, but
 you are not required to employ an attorney. You or your attorney must file an answer with the court. Your
 answer is due by the end of the 14th day after the day you were served with these papers. If the 14th day is a
 Saturday, Sunday, or legal holiday, your answer is due by the end of the first day following the 14th day that
 is not a Saturday, Sunday, or legal holiday. Do not ignore these papers. If you do not file an answer by the
 due date, a default judgment may be taken against you. For further information, consult Part V of the Texas
 Rules of Civil Procedure, which is available online and also at the court listed on this citation.

 YOUR WRITTEN RESPONSE to this lawsuit shall be filed in Justice of the Peace, Precinct Five, at 1000
 Guadalupe Street Room 117, Austin, Texas 78701. E-mail JP5civil@traviscountytx.gov. Phone # (512) 854-9050.
 A copy of your written response or any other document you file with the court must be served on all other parties.
 Proof of service must be evidenced by a certificate of service attached to the document filed with the Court. Please
 consult Texas Rules of Civil Procedure, Rule 501.4 for additional information.

 THE LAW PROHIBITS THE JUDGE & THE CLERKS FROM GIVING LEGAL ADVICE, SO PLEASE DO
 NOT SEEK SUCH ADVICE FROM THIS OFFICE. ANY QUESTIONS YOU HAVE SHOULD BE DIRECTED
 TO AN ATTORNEY.

 Your cause number is J5-CV-24-274397, case styled
                                       VANESSA BISSERETH, Plaintiff/s vs.
                        JAVITCH BLOCK, LLC; BANK OF AMERICA, N.A., Defendant/s
 was filed in the Justice Court, Precinct Five, on November 20, 2024.

 Issued and given under my hand on December 17, 2024.


                                                                               Judge Rick "Rico" Olivo
                                                                               Justice of the Peace, Pct. 5
                                                                               1000 Guadalupe Street #117
 Plaintiff / Plaintiff Attorney / Plaintiff Agent (if applicable):             Austin, Texas 78701
 ROBERT ZIMMER
  1108 LAVACA STREET SUITE 110-187
  AUSTIN TX 78701
 <<<<<SEE PETITION FOR TELEPHONE NUMBER>>>>
      -------------------------------------------------OFFICER'S RETURN-------------------------------------------------
 Came to the hand on the ________ day of ___________________, 20____at _______o’clock_____. M.
 Executed at ___________________________within County of ____________at _____o’clock_____. M. on the
 ______ day of ____________________, 20_____, by delivering to the within named
 _________________________________________________________________________________
 _________________________________________________________________________________
 a true copy of this citation together with the accompanying copy of the petition having first attached such copy of
 such petition to such copy of citation and endorsed on such copy of citation the date of delivery.

 To certify which witness my hand officially: ________________________________________________
 SERVICE FEE $________ _________________________ of______________________ County, Texas
                                                    By Deputy ________________________________

STATEMENT OF INABILITY TO AFFORD PAYMENT OF COURT COSTS
           Case 1:25-cv-00097-ADA                Document 1-2          Filed 01/21/25         Page 36 of 58
                                            JUSTICE CIVIL CITATION

THE STATE OF TEXAS

 TO:    JAVITCH BLOCK, LLC
        ATTN CORPORATE CENTER ONE
        5301 SOUTHWEST PKWY STE 400
        AUSTIN TX 78735

YOU HAVE BEEN SUED. You may employ an attorney to help you in defending against this lawsuit, but
you are not required to employ an attorney. You or your attorney must file an answer with the court. Your
answer is due by the end of the 14th day after the day you were served with these papers. If the 14th day is a
Saturday, Sunday, or legal holiday, your answer is due by the end of the first day following the 14th day that
is not a Saturday, Sunday, or legal holiday. Do not ignore these papers. If you do not file an answer by the
due date, a default judgment may be taken against you. For further information, consult Part V of the Texas
Rules of Civil Procedure, which is available online and also at the court listed on this citation.

YOUR WRITTEN RESPONSE to this lawsuit shall be filed in Justice of the Peace, Precinct Five, at 1000
Guadalupe Street Room 117, Austin, Texas 78701. E-mail JP5civil@traviscountytx.gov. Phone # (512) 854-9050.
A copy of your written response or any other document you file with the court must be served on all other parties.
Proof of service must be evidenced by a certificate of service attached to the document filed with the Court. Please
consult Texas Rules of Civil Procedure, Rule 501.4 for additional information.

THE LAW PROHIBITS THE JUDGE & THE CLERKS FROM GIVING LEGAL ADVICE, SO PLEASE DO
NOT SEEK SUCH ADVICE FROM THIS OFFICE. ANY QUESTIONS YOU HAVE SHOULD BE DIRECTED
TO AN ATTORNEY.

Your cause number is J5-CV-24-274397, case styled
                                      VANESSA BISSERETH, Plaintiff/s vs.
                       JAVITCH BLOCK, LLC; BANK OF AMERICA, N.A., Defendant/s
was filed in the Justice Court, Precinct Five, on November 20, 2024.

Issued and given under my hand on December 17, 2024.


                                                                              Judge Rick "Rico" Olivo
                                                                              Justice of the Peace, Pct. 5
                                                                              1000 Guadalupe Street #117
Plaintiff / Plaintiff Attorney / Plaintiff Agent (if applicable):             Austin, Texas 78701
ROBERT ZIMMER
 1108 LAVACA STREET SUITE 110-187
 AUSTIN TX 78701
<<<<<SEE PETITION FOR TELEPHONE NUMBER>>>>
     -------------------------------------------------OFFICER'S RETURN-------------------------------------------------
Came to the hand on the ________ day of ___________________, 20____at _______o’clock_____. M.
Executed at ___________________________within County of ____________at _____o’clock_____. M. on the
______ day of ____________________, 20_____, by delivering to the within named
_________________________________________________________________________________
_________________________________________________________________________________
a true copy of this citation together with the accompanying copy of the petition having first attached such copy of
such petition to such copy of citation and endorsed on such copy of citation the date of delivery.

To certify which witness my hand officially: ________________________________________________
SERVICE FEE $________ _________________________ of______________________ County, Texas
                                                   By Deputy ________________________________
STATEMENT OF INABILITY TO AFFORD PAYMENT OF COURT COSTS
      Case 1:25-cv-00097-ADA         Document 1-2       Filed 01/21/25        Page 37  of 58
                                                                                    Filed: 12/30/2024 10:33 AM
                                                                                      Justice of the Peace,Pct.5
                                                                                           Travis County, Texas
                                                                                               J5-CV-24-274397

                               CAUSE NO. J5-CV-24-274397

VANESSA BISSERETH,                                 §       IN THE JUSTICE COURT
                                                   §
       Plaintiff,                                  §
v.                                                 §       PRECINCT NO. 5
                                                   §
BANK OF AMERICA, N.A.,                             §
and JAVITCH BLOCK, LLC,                            §       TRAVIS COUNTY, TEXAS
                                                   §
       Defendants.                                 §


                           DEFENDANT’S ORIGINAL ANSWER

     Defendants, Bank of America, N.A. and Javitch Block, LLC (hereinafter

“Defendants”), files this original answer to Plaintiff’s Original Petition.

                                     A. GENERAL DENIAL

     1. Defendants generally deny the allegations in plaintiff’s original petition.

                                           B. PRAYER

     2. For these reasons, Defendants asks the court to enter judgment that Plaintiff

        take nothing, assess costs against Plaintiff, and award Defendants all other relief

        to which they are entitled

                                            DEFENDANTS BY COUNSEL,

                                            /s/ Tyler G. Lansde006E
                                            __________________________________
                                            Tyler G. Lansden, #24118207
                                            Javitch Block LLC
                                            275 W. Campbell, Suite 312
                                            Richardson, TX 75080
                                            (214) 383-9088
                                            DAL@jbllc.com
                                            Fax: (214) 383-5890
                                            Counsel for Defendants
Case 1:25-cv-00097-ADA   Document 1-2   Filed 01/21/25   Page 38 of 58
Case 1:25-cv-00097-ADA   Document 1-2   Filed 01/21/25   Page 39 of 58
      Case 1:25-cv-00097-ADA           Document 1-2       Filed 01/21/25     Page 40Filed:
                                                                                     of 5812/30/2024 3:04 PM
                                                                                      Justice of the Peace,Pct.5
                                                                                           Travis County, Texas
                                                                                               J5-CV-24-274397

                                       NO. J5-CV-24-274397

                                              §
VANESSA BISSERETH,                            §              IN THE JUSTICE COURT
Plaintiff                                     §
                                              §
VS.                                           §              PRECINCT NO. 5
                                              §
BANK OF AMERICA, N.A.,                        §
and JAVITCH BLOCK, LLC,                       §              TRAVIS COUNTY, TEXAS
Defendant                                     §
                                              §

                      PLAINTIFF’S MOTION TO ALLOW DISCOVERY and
                          APPLY THE TEXAS RULES OF EVIDENCE
                         AS TO DEFENDANT JAVITCH BLOCK, LLC


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Plaintiff VANESSA BISSERETH (“Bissereth”) and files this, her Motion

to Allow Discovery as to Defendant JAVITCH BLOCK, LLC (“Javitch Block”) , and to Apply

the Texas Rules of Evidence to the instant case, and in support, respectfully shows this Court as

follows:


                                    PROPOSED DISCOVERY

           Rule 500.9 limits pretrial discovery that the court considers reasonable and necessary.

Plaintiff Vanessa Bissereth’s proposed discovery, attached as Exhibit ‘A’, is limited to that

which is both reasonable and necessary to prove her claims against Defendant Javitch Block,

LLC, afford Javitch Block, LLC an opportunity to defend against Plaintiff’s claims.


                 THE COURT SHOULD APPLY THE RULES OF EVIDENCE


       A justice court may apply the Rules of Evidence pursuant to Rule 500.3(e) when the

court determines the rules are necessary to a fair trial. Here, Plaintiff asks that the Court level

                                                  1
      Case 1:25-cv-00097-ADA             Document 1-2        Filed 01/21/25      Page 41Filed:
                                                                                         of 5812/30/2024 3:04 PM
                                                                                          Justice of the Peace,Pct.5
                                                                                               Travis County, Texas
                                                                                                   J5-CV-24-274397

the playing field between the parties by simply applying all the Rules of Evidence to assure a

fair trial with due process.


       The court should apply all the Texas Rules of Evidence, but at a minimum, the Texas

Rules of Evidence Rules 401, 402, 408 (relevance) 602, 603 (witnesses), 701, 702 and 703

(opinions), 801, 802, 803(6) (hearsay), 902(10) (authentication) and 1001, 1002 and 1003 (best

evidence rule).


                                                   PRAYER


       WHEREFORE, PREMISES CONSIDERED, Plaintiff Vanessa Bissereth prays that

the Court:


             •    Grant her motion, and permit Stephenson to serve the proposed discovery on
                  Defendant Javitch Block, LLC;

             •    Apply the Rules of Evidence to the instant case;

             •    Grant Bissereth all other relief to which the Court may find her entitled, at law or
                  in equity.

                                                                              Respectfully submitted,

                                                                                    /s/ Robert Zimmer

                                                                               Robert Zimmer, Esq.

                                                                Zimmer & Associates, A Law Firm
                                                                  1108 Lavaca Street, Suite 110-187
                                                                                Austin, TX 78701
                                                                        Phone/Fax: (512) 434-0306
                                                                        zimmerlawTX@gmail.com

                                                                   ATTORNEY FOR PLAINTIFF,
                                                                        VANESSA BISSERETH



                                                    2
      Case 1:25-cv-00097-ADA          Document 1-2        Filed 01/21/25      Page 42Filed:
                                                                                      of 5812/30/2024 3:04 PM
                                                                                       Justice of the Peace,Pct.5
                                                                                            Travis County, Texas
                                                                                                J5-CV-24-274397

                                        EXHIBIT “A”

                                      NO. J5-CV-24-274397

                                              §
VANESSA BISSERETH,                            §              IN THE JUSTICE COURT
Plaintiff                                     §
                                              §
VS.                                           §              PRECINCT NO. 5
                                              §
BANK OF AMERICA, N.A.,                        §
and JAVITCH BLOCK, LLC,                       §              TRAVIS COUNTY, TEXAS
Defendant                                     §
                                              §

                 PLAINTIFF'S FIRST SET OF DISCOVERY REQUESTS
                      TO DEFENDANT JAVITCH BLOCK, LLC


TO: DEFENDANT Javitch Block, LLC., c/o its counsel, Tyler Lansden, Esq.via e-mail:
tlansden@jbllc.com.

FROM: PLAINTIFF Vanessa Bissereth, by and through her attorney, Robert Zimmer,
Esq., zimmerlawTX@gmail.com.


       Plaintiff hereby serves and propounds her First Set of Discovery Requests on Defendant.


       Please furnish, within 30 days after service of these Discovery Requests:


(1) the correct name of the Defendant in this lawsuit;

(2) the name, address, and telephone number of any potential Defendant(s);

(3) the legal theories and, in general, the factual bases of Defendant’s defenses (Defendant need
not marshal all evidence that may be offered at trial);

(4) the name, address, and telephone number of persons known to the Defendant who may have
knowledge of relevant facts, and a brief statement of each identified person's connection with the
case;

(5) a copy - or a description by category and location - of all documents, electronically stored
information, and tangible things that Defendant has in its possession, custody, or control, and
may use to support its defenses, unless the use would be solely for impeachment;

                                                  3
     Case 1:25-cv-00097-ADA           Document 1-2       Filed 01/21/25      Page 43Filed:
                                                                                     of 5812/30/2024 3:04 PM
                                                                                      Justice of the Peace,Pct.5
                                                                                           Travis County, Texas
                                                                                               J5-CV-24-274397




(6) any indemnity and insuring agreements described in Rule 192.3(f);

(7) any settlement agreements described in Rule 192.3(g);

(8) any witness statements described in Rule 192.3(h);

(9) the name, address, and telephone number of any person who may be designated as a
responsible third party.

(10) The names of any testifying experts and the information as provided in Tex. R. Civ. P. 195.

(11) The name, address, and telephone number of each witness –separately identifying those that
Defendant expects to present and those it may call if the need arises.

                                                                                        Sincerely,

                                                                               /s/ Robert Zimmer
                                                                             Robert Zimmer, Esq.

                                                            Zimmer & Associates, A Law Firm
                                                              1108 Lavaca Street, Suite 110-187
                                                                            Austin, TX 78701
                                                                    Phone/Fax: (512) 434-0306
                                                                    zimmerlawTX@gmail.com

                                                               ATTORNEY FOR PLAINTIFF,
                                                                    VANESSA BISSERETH




                                CERTIFICATE OF SERVICE

I, the undersigned individual, hereby certify that a true and correct copy of the foregoing motion,
exhibit, and proposed order, have been served on all parties, VIA E-FILE, on December 30, 2024

                                                                          Respectfully submitted,

                                                                               /s/ Robert Zimmer
                                                                             Robert Zimmer, Esq.


                                                4
Case 1:25-cv-00097-ADA   Document 1-2   Filed 01/21/25   Page 44 of 58
      Case 1:25-cv-00097-ADA        Document 1-2       Filed 01/21/25     Page 45Filed:
                                                                                  of 5812/30/2024 3:04 PM
                                                                                  Justice of the Peace,Pct.5
                                                                                       Travis County, Texas
                                                                                           J5-CV-24-274397

                                    NO. J5-CV-24-274397

                                           §
VANESSA BISSERETH,                         §              IN THE JUSTICE COURT
Plaintiff                                  §
                                           §
VS.                                        §              PRECINCT NO. 5
                                           §
BANK OF AMERICA, N.A.,                     §
and JAVITCH BLOCK, LLC,                    §              TRAVIS COUNTY, TEXAS
Defendant                                  §
                                           §

        ORDER GRANTING PLAINTIFF'S MOTION TO ALLOW DISCOVERY
                 AS TO DEFENDANT JAVITCH BLOCK, LLC,
               AND APPLY THE TEXAS RULES OF EVIDENCE



On ____________________, 2024, the Court considered Plaintiff’s Motion to

Allow Discovery and to Apply the Texas Rules of Evidence (“TRE”) to the instant case.

After considering the motion, the response if any, the pleadings and evidence on file and the

arguments of counsel, the Court rules as follows:

______ Plaintiff’s Motion to Allow Discovery is GRANTED and Plaintiff may serve the

proposed discovery that was attached to the motion as Exhibit ‘A’.


       Plaintiffs’ Motion to Apply the TRE is GRANTED as follows:

_______All of the Texas Rules of Evidence shall apply.


       OR:


       TRE Rules 401, 402, 408 (relevance) 602, 603 (witnesses) shall apply.


       TRE Rules 701, 702 and 703 (opinions) shall apply.


       TRE Rules 801, 802, 803(6)(hearsay) shall apply.
    Case 1:25-cv-00097-ADA        Document 1-2      Filed 01/21/25     Page 46Filed:
                                                                               of 5812/30/2024 3:04 PM
                                                                               Justice of the Peace,Pct.5
                                                                                    Travis County, Texas
                                                                                        J5-CV-24-274397

     TRE Rules 1001, 1002 and 1003 (best evidence rule) shall apply.


     TRE Rule 902(10) (business records authentication) shall apply.




DATE: ________________________, 2024.




                                       ___________________________________________

                                                                      JUDGE PRESIDING,
                                                                 Justice of the Peace Court,
                                                                                  Precinct 5
                                                                       Travis County, Texas




                                           2
        Case 1:25-cv-00097-ADA                 Document 1-2         Filed 01/21/25         Page 47 of 58

t\SJM44
                                               JUSTICE CIVIL CITATION

 THE STATE OF TEXAS

  TO:    JAVITCH BLOCK, LLC
         ATTN CORPORATE CENTER ONE
         5301 SOUTHWEST PKWY STE 400
         AUSTIN TX 78735

YOU HAVE BEEN SUED. You may employ an attorney to help you in defending against this lawsuit, but
you are not required to employ an attorney. You or your attorney must file an answer with the court. Your
answer is due by the end of the 14th day after the day you were served with these papers. If the 14th day is a
Saturday, Sunday, or legal holiday, your answer is due by the end of the first day following the 14th day that
is not a Saturday, Sunday, or legal holiday. Do not ignore these papers. If you do not file an answer by the
due date, a default judgment may be taken against you. For further information, consult Part V of the Texas
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A copy of your written response or any other document you file with the court must be served on all other parties.
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THE LAW PROHIBITS THE JUDGE & THE CLERKS FROM GIVING LEGAL ADVICE, SO PLEASE DO
NOT SEEK SUCH ADVICE FROM THIS OFFICE. ANY QUESTIONS YOU HAVE SHOULD BE DIRECTED
TO AN ATTORNEY.

Your cause number is J5-CV-24-274397, case styled
                                 VANESSA BISSERETH, Plaintiff/s vs.
                    JAVITCH BLOCK, LLC; BANK OF AMERICA, N.A., Defendant/s
was filed in the Justice Court, Precinct Five, on November 20, 2024.
                                                                                         1)
Issued and given under my hand on December 17, 2024.


                       lqIT5     e.   rY61 .Ctm                             Judge Rick “Rico” Olivo
                                                                            Justice of the Peace, Pct. 5
            qq 030(o f
                   -                                                        1000 Guadalupe Street #117
Plaintiff / Plaintiff Attorney / Plaintiff Agent (if applicable)            Austin, Texas 78701
ROBERT ZIMMER
 1108 LAVACA STREET SUITE 110-187
 AUSTIN TX 78701
<<<<<SEE PETITION FOR TELEPHONE NUMBER>>>>

                                                OFFICER’S

Came to the hand on the / 7           day of   eaji-               202/ at : C/9 o’clock
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a true copy of this citation together ‘With the accompallying copy of’ the petition having first attached such copy of
such petition to such copy of citation and endorsed on such copy of citation the date of deli

To certify which witness my hand officially:
SERVICE    FEE
                 $___________________________               of____
                                                       By Deputy_______________________
STATEMENT OF INABILITY TO AFFORD PAYMENT OF
Case 1:25-cv-00097-ADA   Document 1-2   Filed 01/21/25   Page 48 of 58
      Case 1:25-cv-00097-ADA           Document 1-2       Filed 01/21/25     Page 49Filed:
                                                                                     of 5812/30/2024 3:04 PM
                                                                                      Justice of the Peace,Pct.5
                                                                                           Travis County, Texas
                                                                                               J5-CV-24-274397

                                       NO. J5-CV-24-274397

                                              §
VANESSA BISSERETH,                            §              IN THE JUSTICE COURT
Plaintiff                                     §
                                              §
VS.                                           §              PRECINCT NO. 5
                                              §
BANK OF AMERICA, N.A.,                        §
and JAVITCH BLOCK, LLC,                       §              TRAVIS COUNTY, TEXAS
Defendant                                     §
                                              §

                      PLAINTIFF’S MOTION TO ALLOW DISCOVERY and
                          APPLY THE TEXAS RULES OF EVIDENCE
                         AS TO DEFENDANT JAVITCH BLOCK, LLC


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Plaintiff VANESSA BISSERETH (“Bissereth”) and files this, her Motion

to Allow Discovery as to Defendant JAVITCH BLOCK, LLC (“Javitch Block”) , and to Apply

the Texas Rules of Evidence to the instant case, and in support, respectfully shows this Court as

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                                    PROPOSED DISCOVERY

           Rule 500.9 limits pretrial discovery that the court considers reasonable and necessary.

Plaintiff Vanessa Bissereth’s proposed discovery, attached as Exhibit ‘A’, is limited to that

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LLC, afford Javitch Block, LLC an opportunity to defend against Plaintiff’s claims.


                 THE COURT SHOULD APPLY THE RULES OF EVIDENCE


       A justice court may apply the Rules of Evidence pursuant to Rule 500.3(e) when the

court determines the rules are necessary to a fair trial. Here, Plaintiff asks that the Court level

                                                  1
      Case 1:25-cv-00097-ADA             Document 1-2        Filed 01/21/25      Page 50Filed:
                                                                                         of 5812/30/2024 3:04 PM
                                                                                          Justice of the Peace,Pct.5
                                                                                               Travis County, Texas
                                                                                                   J5-CV-24-274397

the playing field between the parties by simply applying all the Rules of Evidence to assure a

fair trial with due process.


       The court should apply all the Texas Rules of Evidence, but at a minimum, the Texas

Rules of Evidence Rules 401, 402, 408 (relevance) 602, 603 (witnesses), 701, 702 and 703

(opinions), 801, 802, 803(6) (hearsay), 902(10) (authentication) and 1001, 1002 and 1003 (best

evidence rule).


                                                   PRAYER


       WHEREFORE, PREMISES CONSIDERED, Plaintiff Vanessa Bissereth prays that

the Court:


             •    Grant her motion, and permit Stephenson to serve the proposed discovery on
                  Defendant Javitch Block, LLC;

             •    Apply the Rules of Evidence to the instant case;

             •    Grant Bissereth all other relief to which the Court may find her entitled, at law or
                  in equity.

                                                                              Respectfully submitted,

                                                                                    /s/ Robert Zimmer

                                                                               Robert Zimmer, Esq.

                                                                Zimmer & Associates, A Law Firm
                                                                  1108 Lavaca Street, Suite 110-187
                                                                                Austin, TX 78701
                                                                        Phone/Fax: (512) 434-0306
                                                                        zimmerlawTX@gmail.com

                                                                   ATTORNEY FOR PLAINTIFF,
                                                                        VANESSA BISSERETH



                                                    2
      Case 1:25-cv-00097-ADA          Document 1-2        Filed 01/21/25      Page 51Filed:
                                                                                      of 5812/30/2024 3:04 PM
                                                                                       Justice of the Peace,Pct.5
                                                                                            Travis County, Texas
                                                                                                J5-CV-24-274397

                                        EXHIBIT “A”

                                      NO. J5-CV-24-274397

                                              §
VANESSA BISSERETH,                            §              IN THE JUSTICE COURT
Plaintiff                                     §
                                              §
VS.                                           §              PRECINCT NO. 5
                                              §
BANK OF AMERICA, N.A.,                        §
and JAVITCH BLOCK, LLC,                       §              TRAVIS COUNTY, TEXAS
Defendant                                     §
                                              §

                 PLAINTIFF'S FIRST SET OF DISCOVERY REQUESTS
                      TO DEFENDANT JAVITCH BLOCK, LLC


TO: DEFENDANT Javitch Block, LLC., c/o its counsel, Tyler Lansden, Esq.via e-mail:
tlansden@jbllc.com.

FROM: PLAINTIFF Vanessa Bissereth, by and through her attorney, Robert Zimmer,
Esq., zimmerlawTX@gmail.com.


       Plaintiff hereby serves and propounds her First Set of Discovery Requests on Defendant.


       Please furnish, within 30 days after service of these Discovery Requests:


(1) the correct name of the Defendant in this lawsuit;

(2) the name, address, and telephone number of any potential Defendant(s);

(3) the legal theories and, in general, the factual bases of Defendant’s defenses (Defendant need
not marshal all evidence that may be offered at trial);

(4) the name, address, and telephone number of persons known to the Defendant who may have
knowledge of relevant facts, and a brief statement of each identified person's connection with the
case;

(5) a copy - or a description by category and location - of all documents, electronically stored
information, and tangible things that Defendant has in its possession, custody, or control, and
may use to support its defenses, unless the use would be solely for impeachment;

                                                  3
     Case 1:25-cv-00097-ADA           Document 1-2       Filed 01/21/25      Page 52Filed:
                                                                                     of 5812/30/2024 3:04 PM
                                                                                      Justice of the Peace,Pct.5
                                                                                           Travis County, Texas
                                                                                               J5-CV-24-274397




(6) any indemnity and insuring agreements described in Rule 192.3(f);

(7) any settlement agreements described in Rule 192.3(g);

(8) any witness statements described in Rule 192.3(h);

(9) the name, address, and telephone number of any person who may be designated as a
responsible third party.

(10) The names of any testifying experts and the information as provided in Tex. R. Civ. P. 195.

(11) The name, address, and telephone number of each witness –separately identifying those that
Defendant expects to present and those it may call if the need arises.

                                                                                        Sincerely,

                                                                               /s/ Robert Zimmer
                                                                             Robert Zimmer, Esq.

                                                            Zimmer & Associates, A Law Firm
                                                              1108 Lavaca Street, Suite 110-187
                                                                            Austin, TX 78701
                                                                    Phone/Fax: (512) 434-0306
                                                                    zimmerlawTX@gmail.com

                                                               ATTORNEY FOR PLAINTIFF,
                                                                    VANESSA BISSERETH




                                CERTIFICATE OF SERVICE

I, the undersigned individual, hereby certify that a true and correct copy of the foregoing motion,
exhibit, and proposed order, have been served on all parties, VIA E-FILE, on December 30, 2024

                                                                          Respectfully submitted,

                                                                               /s/ Robert Zimmer
                                                                             Robert Zimmer, Esq.


                                                4
Case 1:25-cv-00097-ADA   Document 1-2   Filed 01/21/25   Page 53 of 58
      Case 1:25-cv-00097-ADA          Document 1-2        Filed 01/21/25      Page 54 Filed:
                                                                                      of 581/7/2025 11:19 PM
                                                                                        Justice of the Peace,Pct.5
                                                                                             Travis County, Texas
                                                                                                 J5-CV-24-274397

                                      NO. J5-CV-24-274397

                                              §
VANESSA BISSERETH,                            §              IN THE JUSTICE COURT
Plaintiff                                     §
                                              §
                                              §
VS.                                           §              PRECINCT NO. 5
                                              §
BANK OF AMERICA, N.A.,                        §
and JAVITCH BLOCK, LLC.,                      §
Defendants                                    §              TRAVIS COUNTY, TEXAS
                                              §

                                PLAINTIFFS’ JURY DEMAND


TO THE HONORABLE JUDGE OF SAID COURT:

       COME NOW Plaintiff VANESSA BISSERETH, and pursuant to Tex. R. Civ. P., Rule

504.1(a), Plaintiff respectfully demands a trial by jury in the above-captioned case.



                                                                     Respectfully Submitted,

                                                      Zimmer & Associates, A Law Firm
                                                        1108 Lavaca Street, Suite 110-187
                                                                    Austin, Texas 78701
                                                          Telephone/Fax: (512) 434-0306

                                                                         /s/ Robert Zimmer
                                                               By:    Robert Zimmer, Esq.
                                                                    State Bar No. 24098662
                                                                 zimmerlawTX@gmail.com

                                                         ATTORNEY FOR PLAINTIFF,
                                                              VANESSA BISSERETH
     Case 1:25-cv-00097-ADA           Document 1-2        Filed 01/21/25      Page 55 Filed:
                                                                                      of 581/7/2025 11:19 PM
                                                                                        Justice of the Peace,Pct.5
                                                                                                     2
                                                                                             Travis County, Texas
                                                                                                 J5-CV-24-274397




                                  CERTIFICATE OF SERVICE

  I, the undersigned attorney, certify that on January 7, 2025, I served a copy of Plaintiff’s Jury
Demand on the Court and all parties, via E-FILE.



                                                                                 /s/ Robert Zimmer

                                                                              Robert Zimmer, Esq.
Case 1:25-cv-00097-ADA   Document 1-2   Filed 01/21/25   Page 56 of 58
                 Case 1:25-cv-00097-ADA                      Document 1-2             Filed 01/21/25            Page 57 of 58

JUDGE TANISA JEFFERS
JUSTICE OF THE PEACE, PRECINCT FIVE
TRAVIS COUNTY, TEXAS
P.O. BOX 1748
AUSTIN, TEXAS 78767
OFFICE: (512) 854-9049        FAX: (512) 854-9640
CIVIL DEPT                    JP5CIVIL@TRAVISCOUNTYTX.GOV
CRIMINAL DEPT                 JP5CRIMINAL@TRAVISCOUNTYTX.GOV

                                                                                                                         January 09, 2025
TYLER G LANSDEN
275 W CAMPBELL SUITE 312
RICHARDSON TX 75080

Re:       J5-CV-24-274397
                                                  VANESSA BISSERETH
                                                        Plaintiff(s)
                                                            Vs.
                                       JAVITCH BLOCK, LLC; BANK OF AMERICA, N.A.
                                                       Defendant(s)

        You are hereby notified that the above styled and numbered case has been SET in accordance with TRCP 503.4
for a PRETRIAL CONFERENCE to include:
                     DEMAND FOR JURY TRIAL AND ALL OTHER PRETRIAL MATTERS
                            INCLUDING DISPOSITIVE PRETRIAL MATTERS
                                                   on, January 30, 2025 at 10:30 AM.

The case will be heard by Justice of the Peace, Judge Tanisa Jeffers. His office is located at 1000 Guadalupe Street,
#117 Austin, Texas 78701. All motions for continuance should be filed no later than Thursday of the week preceding the
hearing date and must be in writing, served on the opposing party and may be granted or denied at the discretion of the
court.
                      YOUR FAILURE TO APPEAR AT SUCH TIME AND PLACE MAY RESULT
                        IN DENIAL OF ANY MOTIONS AND/OR A RULING AGAINST YOU.
        Please be prepared for court by bringing any printed copies of documents, photos and/or any other items you think
are necessary to support your claim. You must also bring enough printed copies to provide a set for the court and a set for
each party. IF YOU DO NOT COME PREPARED THE COURT WILL ASSESS FEES FOR ANY ADDITIONAL
COPIES REQUIRED.
        Prior to your court date, you may want to familiarize yourself with any applicable laws and rules applicable to
Justice Courts as well as “Local Rules of Procedure and Rules of Decorum” for Justice Courts in Travis County which can
be found at https://www.traviscountytx.gov/justices-of-peace/jp5/links.

                                                                                           Sincerely,


                                                                                           __          _____________________
                                                                                           Civil Court Clerk for
                                                                                           Judge Tanisa Jeffers
                                                                                           Justice of the Peace, Precinct Five
                                                                                           Travis County, Texas


If a determination is made that Travis County offices will be closed to the public due to inclement weather or an emergency situation; information
will be available on the Travis County website (https://www.traviscountytx.gov/). If the closure affects the scheduled date/time that appears on this
notice, contact Justice of the Peace, Pct. 5 as soon as business operations resume.
                 Case 1:25-cv-00097-ADA                      Document 1-2             Filed 01/21/25            Page 58 of 58

JUDGE TANISA JEFFERS
JUSTICE OF THE PEACE, PRECINCT FIVE
TRAVIS COUNTY, TEXAS
P.O. BOX 1748
AUSTIN, TEXAS 78767
OFFICE: (512) 854-9049        FAX: (512) 854-9640
CIVIL DEPT                    JP5CIVIL@TRAVISCOUNTYTX.GOV
CRIMINAL DEPT                 JP5CRIMINAL@TRAVISCOUNTYTX.GOV

                                                                                                                         January 09, 2025
ROBERT ZIMMER
1108 LAVACA STREET SUITE 110-187
AUSTIN TX 78701

Re:       J5-CV-24-274397
                                                  VANESSA BISSERETH
                                                        Plaintiff(s)
                                                            Vs.
                                       JAVITCH BLOCK, LLC; BANK OF AMERICA, N.A.
                                                       Defendant(s)

        You are hereby notified that the above styled and numbered case has been SET in accordance with TRCP 503.4
for a PRETRIAL CONFERENCE to include:
                     DEMAND FOR JURY TRIAL AND ALL OTHER PRETRIAL MATTERS
                            INCLUDING DISPOSITIVE PRETRIAL MATTERS
                                                   on, January 30, 2025 at 10:30 AM.

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                                                                                           __          _____________________
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                                                                                           Judge Tanisa Jeffers
                                                                                           Justice of the Peace, Precinct Five
                                                                                           Travis County, Texas


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